Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.241 Filed 12/23/21 Page 1 of 10




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

                   Plaintiff,                       Case No. 21-cv-12193
                                                    Hon. Arthur J. Tarnow
                   v.

ROBERT SAMUEL SHUMAKE, JR.,                        JURY TRIAL DEMANDED
WILLARD L. JACKSON,
NICOLE T. BIRCH,
420 REAL ESTATE, LLC,
VICENT PETRESCU
aka VINCENT PETRESCU, and
TRUCROWD, INC. dba FUNDANNA,

                   Defendants.
                                              /

       FINAL JUDGMENT AS TO DEFENDANT NICOLE T. BIRCH

      The Securities and Exchange Commission having filed a Complaint and

Defendant Nicole T. Birch (“Defendant”) having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Final Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph VIII); waived findings of fact and conclusions of law;

and waived any right to appeal from this Final Judgment:

                                         I.

                                         1
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.242 Filed 12/23/21 Page 2 of 10




      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly,

Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5],

by using any means or instrumentality of interstate commerce, or of the mails, or

of any facility of any national securities exchange, in connection with the purchase

or sale of any security:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         II.


                                         2
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.243 Filed 12/23/21 Page 3 of 10




      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 17(a)

of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the

offer or sale of any security by the use of any means or instruments of

transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make

      the statements made, in light of the circumstances under which they were

      made, not misleading; or

      (c)    to engage in any transaction, practice, or course of business which

operates or would operate as a fraud or deceit upon the purchaser.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         III.


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Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.244 Filed 12/23/21 Page 4 of 10




      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 5 of

the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any

applicable exemption:

      (a)    Unless a registration statement is in effect as to a security, making use

             of any means or instruments of transportation or communication in

             interstate commerce or of the mails to sell such security through the

             use or medium of any prospectus or otherwise;

      (b)    Unless a registration statement is in effect as to a security, carrying or

             causing to be carried through the mails or in interstate commerce, by

             any means or instruments of transportation, any such security for the

             purpose of sale or for delivery after sale; or

      (c)    Making use of any means or instruments of transportation or

             communication in interstate commerce or of the mails to offer to sell

             or offer to buy through the use or medium of any prospectus or

             otherwise any security, unless a registration statement has been filed

             with the Commission as to such security, or while the registration

             statement is the subject of a refusal order or stop order or (prior to the

             effective date of the registration statement) any public proceeding or

             examination under Section 8 of the Securities Act [15 U.S.C. § 77h].


                                          4
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.245 Filed 12/23/21 Page 5 of 10




      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                          IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and

Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)], Defendant is prohibited

from acting as an officer or director of any issuer that has a class of securities

registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is

required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.

§ 78o(d)].

                                          V.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is liable for disgorgement of $600,712, representing net profits

gained as a result of the conduct alleged in the Complaint, together with

prejudgment interest thereon in the amount of $78,314, and a civil penalty in the

amount of $200,000 pursuant to Section 20(d) of the Securities Act [15 U.S.C.


                                           5
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.246 Filed 12/23/21 Page 6 of 10




§ 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].

Defendant shall satisfy this obligation by paying $879,026 to the Securities and

Exchange Commission within 30 days after entry of this Final Judgment.

      Defendant may transmit payment electronically to the Commission, which

will provide detailed ACH transfer/Fedwire instructions upon request. Payment

may also be made directly from a bank account via Pay.gov through the SEC

website at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by

certified check, bank cashier’s check, or United States postal money order payable

to the Securities and Exchange Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; Birch as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of

payment and case identifying information to the Commission’s counsel in this

action. By making this payment, Defendant relinquishes all legal and equitable

right, title, and interest in such funds and no part of the funds shall be returned to

Defendant.

      The Commission may enforce the Court’s judgment for disgorgement and

                                           6
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.247 Filed 12/23/21 Page 7 of 10




prejudgment interest by using all collection procedures authorized by law,

including, but not limited to, moving for civil contempt at any time after 30 days

following entry of this Final Judgment.

      The Commission may enforce the Court’s judgment for penalties by the use

of all collection procedures authorized by law, including the Federal Debt

Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil

contempt for the violation of any Court orders issued in this action. Defendant

shall pay post judgment interest on any amounts due after 30 days of the entry of

this Final Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the

funds, together with any interest and income earned thereon (collectively, the

“Fund”), pending further order of the Court.

      The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act

of 2002. The Court shall retain jurisdiction over the administration of any

distribution of the Fund and the Fund may only be disbursed pursuant to an Order

of the Court.

      Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To


                                          7
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.248 Filed 12/23/21 Page 8 of 10




preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

reduction of any award of compensatory damages in any Related Investor Action

based on Defendant’s payment of disgorgement in this action, argue that she is

entitled to, nor shall she further benefit by, offset or reduction of such

compensatory damages award by the amount of any part of Defendant’s payment

of a civil penalty in this action (“Penalty Offset”). If the court in any Related

Investor Action grants such a Penalty Offset, Defendant shall, within 30 days after

entry of a final order granting the Penalty Offset, notify the Commission’s counsel

in this action and pay the amount of the Penalty Offset to the United States

Treasury or to a Fair Fund, as the Commission directs. Such a payment shall not

be deemed an additional civil penalty and shall not be deemed to change the

amount of the civil penalty imposed in this Judgment. For purposes of this

paragraph, a “Related Investor Action” means a private damages action brought

against Defendant by or on behalf of one or more investors based on substantially

the same facts as alleged in the Complaint in this action.

                                          VI.

      Birch shall pay the total of disgorgement, prejudgment interest, and penalty

due of $879,026 to the Commission within 30 days of entry of this Final Judgment.

Payments shall be deemed made on the date they are received by the Commission

and shall be applied first to post judgment interest, which accrues pursuant to 28


                                           8
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.249 Filed 12/23/21 Page 9 of 10




U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry of Final

Judgment. Prior to making the final payment set forth herein, Birch shall contact

the staff of the Commission for the amount due for the final payment.

          If Birch fails to make any payment by the date agreed and/or in the

amount agreed according to the schedule set forth above, all outstanding payments

under this Final Judgment, including post-judgment interest, minus any payments

made, shall become due and payable immediately at the discretion of the staff of

the Commission without further application to the Court.

                                        VII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                        VIII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely

for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy

Code, 11 U.S.C. §523, the allegations in the complaint are true and admitted by

Defendant, and further, any debt for disgorgement, prejudgment interest, civil

penalty or other amounts due by Defendant under this Final Judgment or any other

judgment, order, consent order, decree or settlement agreement entered in


                                          9
Case 2:21-cv-12193-MFL-APP ECF No. 20, PageID.250 Filed 12/23/21 Page 10 of 10




connection with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                         IX.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Final Judgment.

                                          X.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment

forthwith and without further notice.

Dated: December 23, 2021
                                        s/Arthur J. Tarnow
                                        UNITED STATES DISTRICT JUDGE




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